       Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 1 of 29 PageID #:1
                                                                                     sheet and reference that section.]
          [lf you need additional space for ANY section, please attach an additional




                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION                                                      RECEIVED
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                                                                                                          THOMASG. BRUTON
                                                            )                                          CLERK, U.S. DISTRICT COURT
                                                            )
                                                            )
                                                            )         CIVL ACTION
(Name of the plaintiff or plaintiffs)                       )
                                                            )
                                                            )       1.18-cv{6982
                                                            )      j-uoge Vi@nia M. Kenddt
                                                            )      Magshate Judge young
                                                                                         B. Kim
                                                            )
                                                            )
                                                            )
                                                            )
   ame   ofthe defendant                                    )



                       COMPLAINT OF EMPLOYMENT DISCRIMINATION



                                                                                                                            of the
2.    The plaintiff is

county of                                                           in the state of         ZL
3.    The defendant is

street address is

 (r@B;/-%,t-(county) CaaA                                         (state)      TL                   fzry 6 o/7/
 (Defendant,s telephone         number)            @) -          681      * crsyo e*f                6I    f   {

                                                                          (street address)
 4.   The plaintiff sought employment or was employed by the defendant at

        1(r*rr,o                  ,e    .-il ', Co.                                 -lcityl      1A-.2
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Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 2 of 29 PageID #:2




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           Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 3 of 29 PageID #:3
                                                                                            sheet and reference that section.]
                 [lf you need additional space for ANY section, please attach an additional




5. The plaintiff lcheck one boxf
         (a)   n           was denied employrnent by the defendant'

         (b)   E           was hired and is still employed by the defendant'

         (c)   tr          was employed but is no longer employed by the defendant'


6.       The defendant discriminated against the plaintiff on or about, or beginning on or about,




7   .l         (Choose paragraph 7.1             or 7.2. do not complete both.)
                           (a) The defendant is not a federal governmental                    agency, and the       plaintiff     lcheck


                                                A'otffiro,                     filed a charge or charges against the defendant
                                  one   boxl
asserting the acts of discrimination indicated in this complaint with any of the following
govemment agencies:


                (i)         ffi    ,n. Ur{ted     States Equal Employment Opportunity Commission, on or about

                            (month)                           (auv)-/3- $eai ),o13                          .




                (ii) E             ,n. Ilinois Department of Human Rights, on or about
                            (month)                           (dav)-                (Year)-'
         (b) If charges were filedwith                an agency indicated above, a copy of the charge is


attached.               ffi ttt.           fl    *o,    but plaintiff will file a copy of the charge within 14 days.

It is the policy of both the Equal Employment opportunity commission                                       and the    Illinois
                                                                                     The
Department of Human Rights to cross-file with the other agency all charges received.
plaintiff has no reason to believe that this policy was not followed in this case.


    7.2          The defendant is a federal governmental agency, and
                 (a) the plaintiff previously filed a Complaint of Employment Discrimination with the

                 defendant asserting the acts of discrimination indicated in this court complaint.


                                                                           2


                                                                     please attach an additional sheet and reference that section']
                      [lf you need additional space for ANY section,
      Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 4 of 29 PageID #:4
         [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]




                         tr          Yes (month)                                  (day)_               (year)


                         tr          No, did not file Complaint of Employment Discrimination

       (b)        The plaintiff received a Final Agency Decision on (month)
                   (dav)                   (vear)

       (c)         Attached is a copy of the

                   (i)     -
                         Complaint of Employment Discrimination,

                         fl                fl    *o, but a copy will be filed within               14 days.
                               "rs
                   (ii) Final Agency Decision


                         fl                 fl    *o,    but a copy will be filed within 14 days.
                               "us

8.     (Complete paragraph 8 only if defendant is not afederal governmental agency.)


        (u)n             the United States Equal Employment Opportunity Commission has not issued


                         aNotice of Right to Sue.
                    ,/
        $)W              the United States Equal Employment Opportunity Commission has issued a

                         Notice    of      ht to Sue, which was received by the plaintiff on
                         (month)                            @ui-lf-$eai                      9 6 /t       a copy    ofwhich
                         Notice i       ttached to this complaint.



 9.     The defendant discriminated against the plaintiff because ofthe plaintiff s lcheck only

        those that applyf:

        (")E         Age (Age Discrimination Employment Act).

        O)f]          Color (Title VII of the Civit Rights Act               of   t964 and42 u.S.C. 91981).



                                                                  3


                                                                                                  reference that section.]
             [lf you need additional space for ANY section, please attach an additlonal sheet and
      Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 5 of 29 PageID #:5
                                                                                   sheet and reference that section.]
        [lf you need additional space for ANY section, please attach an additional




       (.)fl     Disability (Americans with Disabilities Act or Rehabilitation Act)

       (d)n      National Origin (Title VII of the Civil Rights Act of 1964 and42 U.S.C. $1981).

       <"1ffi"(Title vII of the civil Rights Act of 1964and42 u.s.c. g1981).
       (0E Re[gion (Title VII of the Civil Rights Act of 1964)
       G)n       Sex (Title     VII of the Civil Rights Act of 1964)

10.    If the defendant is a state, county, municipal (city, town or village) or other local
       governmental agency, plaintiff further alleges discrimination on the basis of race, color,

       or national origin (42 U.S.C. $ 1983).

11.    Jurisdiction over the statutory violation alleged is conferred as follows: for Title                             VII
       ctaims by 28u.s.c.$1331, 28 U.S.C.$13a3(aX3), and 42 U.S.C.$2000e-5(f)(3); for
       42 U.S.C.$1981 and $1983 by 42U.S.C.$1988; for the A.D.E.A.by 42 U.S.C.$12117;

       for the Rehabilitation Act,29 U.S.C. $ 791.


12.    The defendantlcheck only those that apply)


        fu)E          failed to hire the plaintiff.

        15)E          terminated the plaintiff s employment.


        @)14
          -./         failed to promote the plaintiff.

        (OE           failed to reasonably accommodate the plaintiff                    s   religion.

        (.)n           failed to reasonably accommodate the plaintiff s disabilities.

        (0n          ;failedto     stoP harassment;


        @{             retaliated against the plaintiff because the plaintiffdid something to assert
                       rights protected by the laws identified in paragraphs 9 and 10 above;

        G)n            other (specify):




                                                                4


                                                         please attach an additional sheet and reference that section']
          [lf you need additional space for ANY section,
      Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 6 of 29 PageID #:6
                                                                                              reference that section']
         [lf you need additional space for ANY section, please attach an additional sheet and




13.     The facts supporting the plaintiff s claim of discrimination are as follows:




                                                       intentionally, and willfully
t4.     IAGE DISCRIMINATION ONLI\ Defendant knowingly,
        discriminated against the plaintiff'

15.     Thep1aintiffdemandsthatthecasebetriedbyajury.EvBs6
16.      THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
      lcheck only those that aPPlYl


      (")E           Direct the defendant to hire the plaintiff.

      G)n            ptuectthe defendant to re-employthe plaintiff'

      Al{             oirect the defendant to promote the plaintiff'

      (OE            Direct the defendant to reasonably accommodate the plaintiff s religion.

      (.)fl          Direct the defendant to reasonably accommodate the plaintiff                          s   disabilities.

      (0fl           Direct the defendant to (speciff):




                                                                   5


                                                             please attach an additional sheet and reference that section']
              [lf you need additional space for ANY section,
    Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 7 of 29 PageID #:7
                                                                                              reference that section']
         [lf you need additional space for ANY section, please attach an additional sheet and




            ,/
  GIW             If available, grant the plaintiff appropriate injunctive relief, lost wages,
                   liquidated/double damages, front pay, compensatory damages, punitive damages,
                   prejudgment interest, post-judgment interest, and costs, including reasonable
                 ,zfforney fees and expert witness fees.
   @t             Grant such other relief as the Court may find appropriate'



         intiff s signature)



   (Plaintiff s name)



   (Plaintiff    s street address)




(City)   llrtelrc"se                                                     do/Eo
(Plaintiff s telephone number)           eb              W-7ss7
                                                                             Date:        to/ tz/ /t


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                                                          please attach an additional sheet and reference that section.]
           [lf you need additional space for ANY section,
                             Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 8 of 29 PageID #:8
    EEOC Form 5   (1 1/09)



                             CHnacE oF DrscRrMlNATIoN                                                             Charge Presented     To:           Agency(ies) Charge No(s),
                  This form is affecled by the Privacy Act of 1 974. See enclosed privacy Acl
                         Statement and olher inlormatron beFore completing lhis form.
                                                                                                                           FEPA

                                                                                                                           EEoc                          440-2018_06631



Name (indicate Mr., Ms.. Mrs i                                                                                             Home Phone (lncl. Area Code)            Date ol Birlh

    James Ray, Jr,                                                                                                             (773) 459-788s                         1972
Street   Address                                                                        C ty, Slate and ZIP Code

1964 N Melrose, Apt #2, Melrose Park, lL 60160


Named is the Employer, Labor Organizaliorr, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Eelieve
Discriminated Against Me or Others. (ll marc than twa, list under PARTICULARS below.)
Name                                                                                                                       No Employsss,   Memb6rs     Phone No. (lnclude Area Code)

CHICAGO DISPLAY MARKETING                                                                                                       15 - 100                  (708) 842-0001
Street Address                                                                          City State and ZIP Code

2021 West Street, River Grove, lL 60172

Name                                                                                                                       No EmoloyBes    Msmbers     Phone No. (lnclude Area Cade)



Street Address                                                                          Clty, Srete and ZIP Code




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                                                                                                                                                     CONTINUING ACTION


f Xe   FInf tCUURS ARE          (// additionat papet ts needed atlech extta sheel(s))



    lwas placed as a temporary workerwith Respondent on or around March 21,2016, I am currently
    working as a Laborer. During my employment, lhave been paid less than Hispanic employees and
    have bJen giving money under ihe carpet. lwas subjected to different terms and conditions,
    including, U-ut not timited to, being reassigned and heavily scrutinized. lwas subjected
                                                                                             to and
    reportedio Respondent sexual miscondutt' Subsequently, I have been harassed'
                                                                           Black, sex, and in retaliation for
    I believe I have been discriminated against because of my race,
                                                                 tiie Civil Rights Act of 1954, as amended'
    engaging in protected activity, in vioiation of Title Vll of




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                                               arrd the Slale or localAgencY, if anY            l

Iwant this charge filed with coth the EEOC
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will advise the agencies         I


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                                                                                                        the best of my knowledge, information and be'ief     '
                                                 the above is true and correct
lGare        unoer PenaltY of oerjury                                                                   SIGNATURE OF COMPLAINANT


                                                                                                                                       ME THIS DATE
                                                                                                        SUBSCRIBED AND SWORN TO BEFORE
                                                                                                        (nonth, daY, Yea4
        Jul 13,2018
                                                      ChaQing PanY Signalure
                           Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 9 of 29 PageID #:9
EEOC Form 5     {1 1/09)



                           CHence            or       DrscRtN/tNATIoN                                                   arge Presented To                 Agency(ies) Charge No(s)
                This form is aflected by the Pr vacy Act of 1 974 See enclosed pr vacy Act
                       Statement and other rnformal on before comoleling this form                                      tr   FEPA

                                                                                                                        tr   EEOC                            440-2018-047 87
                                                              lllinois Department Of Human Rights
                                                                             Slale or local Agency, il any

Name (indicate Mr.. Ms . Mrs )                                                                                               Home Phone (lncl Area Code)

 James Ray, Jr.                                                                                                                 (773) 459-788e
Street   Address                                                                    City, Slate and ZIP Code

1964 N Melrose, Apt#2, Melrose Park, lL 60160

Named is the Employer, Labof Organization Employment Agency, Apprenticeship Committee or Slate or Local Government /\gency That i Believe
Discriminated Against Me or others (ll mare lhan two, list under PARTICULARS below.)
                                                                                                                             No Employees,   l\,4smbers     Phone No. (lnclude Area Cade)

                                                                                                                                  15 - 100                     (773) 282-7788
Street Address                                                                      Crty, Slale and ZIP Code


4700 W Diversey Avenue, Chicago, lL 60639

                                                                                                                             No. Employe6s, Memberr         Phone No (lnclude Area Code)



                                                                                    Crty, Slate end ZIP Code
Streel Address




                                                                                                                                     DATE(S) DISCRIM]NATION TOOK PLACE
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  r berieve r have been discrirrrinated against
  Civil Rights Act of 1964, as amended'




                                                                                                                                         gare and Local /\gency Requircmenls
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I want this charge filed
                          *'tn        ti* EEOC 3r1d the Slate or local Aqency if any'        1




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                             in lf p"ttt"lng oi my charge                                                                                                      and that
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cooperate                            "                                                                 l*ail      o|.
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                                                                                                       SIGNATURE OF COMPLAINANT


                                                                                                                               BEFORE ME THIS DATE
                                                                                                       SUBSCRIBED AND SWORN TO
                                                                                                       (nonlh, daY, Year)
         Jul 13,2018
                  Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 10 of 29 PageID #:10

 EEOC Form t01 (11116)                    ft   .   eorol    Ervrpuoyna    e   rur Op ponru    ru   I   wfrlu   r,rlsst o N

                                                    DtslrtsslL        AND        Nolce        oF RtcHTs
To:     Jarnes Ray, Jr.                                                                   From: Chlcago District Office
        1964 N Melrose                                                                          500 West Madison St
        Apt#2                                                                                           Suite 2000
        Melrose Park,lL 60160                                                                           Chicago, lL 60661


      tl                     On behalf of person(s) aggrioved whose identity is
                             CONFIDENTIAL (29 CFR E1 601.7(d)
 EEOC Charge No.                                   EEOG Representative                                                        Telephone No.
                                                   Alison Fisher,
 4J,O-2018-04787                                   lnvestlgator                                                               (312) 869-8r47
 TH E EEOG IS CLOSING ITS FILE ON THIS CHARGE FORTHE FOLLOWING REASON:

      E           The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.


      E           Your allegations did nol involve a disability as defined by the Americans Wth Disabilities Act.


      E           The Respondent employs less than the required number of.emptoyees or is not otherwise covered by the statutes.

     rf           Your charge was not timely filed with EEOC; in other words, you waited too long'afler the date(s) of the aileged
                  discrimination to file your charge

      E           The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that lhe
                  information obtained establishes violations of the statutes, This doee not certify that the respondent is in compliance with
                  the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

      E           The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.


      E           Olher (briefly state)



                                                           . NOTICE OF SUIT RIGHTS.
                                  '                  (See tl,e odditionel inlormation attached to thisform.)

Tltle Vll, the Americans with Disabilities Act, the Genetic lnfonnatlon Nondiscriminatlon Act, or the Age
Dlecrimination in Employmont Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be flled WITHIN 90.DAYS of your recelpt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years forwillful viotations) of the
alleged EPA underpayment. This means that backpay due for any vlolations that occurred more than 2 yearr (3 vears)
before you file suit may not be collectible.

                                                                              behalf of the


Enclosures(s)
                                                                                                                             7l tT    llf
                                                                    Julianne Bowman,                                                 (Dato Mailed)
                                                                     Dlstrlct Director
            RON'S STAFFING SERVIGES                                TE OFFICE
            clo Ghlef Erecutive Officer
            656 Dundee Road
            Sulte 103
            Northbrook, lL 80062
                   Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 11 of 29 PageID #:11

 EEOC Forn 161 (1 l116)                     f\.    eourr- EMpLoyMENT oppoRruNtry qtutsstoN

                                                    DlsnalsseL AND Norrce oF RIGHTs
 To:    James Ray, Jr.                                                                    From: Chicago District Offlce
        1964 N Melrose                                                                          500 West Madison St
        Agt*2                                                                                   Suits 2000
        Melrose Park, lL 60'160                                                                 Chicago, lL 60661


                               On behalf of person(s) aggrieved whose identity is
                                                    cFR 61601.
 EEOC Charg€ No.                                   EEOC Representative                                                Telephone No.
                                                  Allson Flsher,
 440-2018-056s1                                   lnvestigator                                                        (312) 869.8147
 THE EEOC IS CLOSING ITS F]LE ON THIS CHARGE FOR THE FOLLOWING REASON:
     E            The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.


     E            Your allegations did not involve a disability as delined by the Americans With Disabilities Act.


     E            The Respondent employs less than the required number of employees or is not otherwise covered by the slatutes.

     E            Y_our.   charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                  discrimination to file your charge

     E            The EEOC issues lhe following determination: Based upon its investigation, the EEOC is unabie to conclude
                                                                                                                            that the
                  information obtained establishes violations of the statutes- This does no:t certify thet the respondent is in compliance
                                                                                                                                           with
                  the statutes. No finding is nrade as to any olher issues that might be construed is'having been raised by this charge.

     E            The EECC has adcpteC the findings of the state o!'locet fair employment practices agency lhat investigated this charge.


     E            Olher (briefly stata)



                                                           . NOTICE OF SUIT RIGHTS .
                                                     (See lhe ddditional information aftached to this form.)

Title Vll' the Amorlcans with Disabilities Act, the Genetlc lnformatlon Nondiscrimination Act, or tho Ago
Discrimination in Employment Act: This will be the only notice of dismissat and of youi right to sue p,ii*e'*irr send you.
You may file a lawsuit q-ggi1!t the respondent(s) under federal law based on this chaige in iederal or state court. your
lawsuit must be filed V:U.,l.T!.llN -90 DAYS of your receipt of this notice; or your right [o sue based on tfris cfraige will be
lost. (The time limit for filing suit based on a claim under state law may be different,i

Equal
       .P3y lct
                (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for wilfut viotations) of the
alleged EPA_underpayment. This means that backpay due for any viotations inat oicurreo more ttran z veaE yparst
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before you flle suit may not be collsctible.




Enclosures(s)
                                                                    Jullanne Bowman,                                       (Dale Mdiled)
                                                                     District Dlrector
           GHICAGO DISPLAY MANUF                          RING CO.
           c/o Jamie Binny
           Presldent
           2021 West Street
           Rivsr Grove, lL 60172
                             fl7*r-nli-rZ
Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 12 of 29 PageID #:12




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H/ryri-.             .&, L,.-a-ftry a"u/
 /r* ca";L b*i=4o-"1 d ?z<t-, fu*4 e*

 7p*L--t,* /: i;24{
  ')*-, *. ;/*
, Kf.,
        Zkr< .tkD.f>t
                                        -1,-^rffi*1
                 Vz,.-'r"r*J/"an;/ b;.*_ r,_r)><_
'ke,      -4<t sqfu- ,-Lrrr/       fr ,%r- of*y              A.n/l         .
    Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 17 of 29 PageID #:17




                                         G?t-*   aZ f%
                                         ;;,2,*'7ffi*7           -a*rz.




,a,,&/     7l)*6,J*
            '?o.,,.)   ct /.,"., d-t/o ,4,/
 -t/ou 6-/(          Zz/'ztuzt -d(Q-./-
                                  srr*i"r ?
 'AT"-1'/ zj&r-^ lL *Q.-?

    -,-#,;kmh
:ZNt*.1.




    ."LL*;
/ -74t*u-
             ,       '2s42   ,rr/*/,/i
.   r!-,-,(,2                                     t/r\.z/t -r)", //*
Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 18 of 29 PageID #:18




        4)b',--r;,/4        'r.*. C-
 D,*/ a-.,, / aA& Zrt.-, /U; )d-a,,
..?4r,- zftrr b;2T i.rufr, 2.*y/ *&.
                   2.?,;P2, t3'2.-rot-
."-td 441 cruz- ,*{*.-r;!-",(:' ?
,?,r*.
 ,4.4r€
           ??:,:'
            &           /r-A-*?             (4k \
                                             c<-,<-
fr-, ry/L ?*                                        )*l
                               "/zt-tt .),o.*n-, 9 "*1
                       /u-".L.,r',4;
"b?,{fa+.             _u


A,.-x; rrfr*:fr/"U:j2.,
b,-h, /r,,*- ;; ,a-fu( d,.,^4^ *ia,9
 %ffi#-1**rw
kl^     / (% -qbz.( t<t,'nt *r--E (4 .7
        ,r;,{*
 J da 'ho-/ *,",*o ,%rJ *-A- /) /
                                 ,,J/z<9r1 /UU
auuuzy' oyt H, A<--a.1 , V.u,*1-r--,.i
                                    '"t"'k:,?#;'
h"":*=ffi
  L*rn b, a/*l
  J                                     Ar,,X"        ci)*,4
d4r2- ,a-'4  ot '-ra' ,P+ z.u,e><)./
                   x </

   Cr^ Ar*.r/ ---! G-z+t r.irr-zz@4a/Zg
   ,h
-e."4        az i.nr*/rc%_,n_,                 vl

                                             ka/44it <. a/.4J(
                                                                      I
    Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 19 of 29 PageID #:19
                                                                                  7.,2


a


    /zr.rr14   %/ ara-,Zar, /<:s-+                   c{, ,4"/
    'fu >n*
    '4az >n*// 775./ ,;--./-€.-^;-,
                     )-naZ          JZz
    '?fr2. &*'-"/o., -a/<-rz*-77% ?
     7ry  1 fr*.y
    cd( 7 28                  4/
                :* .&.zf-d<4-Z* zlr ?in*-.       -4=' J




t   f"r"       V/r^- ?z-r.   *-'    ,44rLV
Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 20 of 29 PageID #:20




. ,J                 *!-.,^;               z.tia^*-r4-?,u--v-baL
                                           hg*--.   4 z*.,<
bdrt ?^J,',&.a40
4,a   e/- 4-.\ r               ,__1   ^
                                            t/
                                                        ,



z;-^1,
AFAa
          *^;T;rf;*:
           /r.* *2 fr 2Lt      61-7-,--t                a+t-
.-ilz E;.,o.,,-{/L;, .. 24Lft--                     _4-ofr al
 ?zR- ud f ,A""e.rir".--.?t uff,
                                                             ^
     Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 21 of 29 PageID #:21




         dL, dc;,.n/V".Z- p.-r'/L uza4rz
    -ir*o oTt"r/-- A';e/an- %-6o44^' '7/Lo""
    Z;2"; L;a- 2-,r'-' 6 /*, 2",-x/ 2.;
    A-*kfrr*ffi72"
      al,4'-
    .%r4J
             J Ed ;;,,,J      r/Zn-'=    -
    a7* r*<;*t       Z.m5;rza-                       cLfi^9/39a
    "**n*r kazJr-"u.6?*J*4,
               ,-,/zJazV? 2?*^-Ja*z
    nL  an(
    T; ;L>24.-*r,,/ iL'*/-*"- 2z*-'z*
               ,;,4-j c)a1 /*-*o-t-
    l2zzr-.& ,ir.y'     f/"-
     c:--*/6               A'--U'D'
                    '2-z'z---(--   2%*
                                         Z**,
t    24%.- .&ta.a .fr 2'.o- c/, ?'e,{n"*-ZZL
     Z,;-h    Z,-L- / z+'-bs- z/a// fu'*'/uV*
    nYr1on*;or-,-u-. 2A"- k'^/'; An-*-
     2rL r,/ c**r/*o./,-V. il_a             ./, ,t->2,e
                                     &2*-qrJ/*/?    --t,y'
                                                      ,,



     7 )/r1 ,                       ?2r,.^.,
                                  r7/r,.,-r/.*dt --11-
     carr&.r//'2n */*-;* /r* A'*^.<-'r- z--t*-.:/ / 2,
     2orr, ,--l L.* 1*"" -l /JcrzzL)'1 t^)'z// /7o'--,
     //,*,, b C4ob*"*,,J rZ*/ZoZ ?zzciZu tD.t-

     %. a)azt /*.*.
     A-/-.
     7z* Z@
                   -J,-n/*:ry%-'    "Vl aut'tL ' '"-tt/a'"j
     7'//u. .Z*.*-         &../     /,L'i'42"J'"
    Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 22 of 29 PageID #:22
                                                                              t7'#

a    .Zoa
              \-a/z =! '*, J pn"'a*)tzr c2/ zzz_<_/
    ,4fh1l Ao-Z 7 V;,/'%< -Z Z,,JI
    'h;;             /rd844..e,
                              u t2-X- C,/).24. % ?
    -'h<r-.,-. "r4-/

    ,4 hzr,-.t, fio-/ ,4*.r*- Ln4<act{?qlC-
    , l), hq rb-t olu.i /**.t*,a{,ei;",- -*" '%
    .Afn'-T                  pZ*,LL;ZZ"_Z__
    al*tt-                                       A/o       cDuzft_
             ^b*'*o- -Z*Ji"*-//
                                                                        /
    b*-/.ry/A;;E;";;u-.
    b^*"ieZ;effi"mr                                     *'/'"

t                                                               n6't-
    Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 23 of 29 PageID #:23   /3F

      '2*;  vzp,*inu -b%z,r- t4'/ k;'
   A* u-d L^ /*r"*a -/r-4'' z,o % 42ry.
   A2r- Czz,,rt "uzz^a-ztat y';*             )%' -"'d' '2tr'
   4-/   bo.tn *i1/                  AzZ-.u*o--   /4* 9;..-7-
   r*ry,
                A  Ar?<a7ac/ ^*-r*-"- / t) ct"'{)             A+
   Cbrt      , Ju*, c41i,o .a;hz-,1 rz* A4        "/
   wZzu;w^:-;/Z,:;                   -L"<
   % ,"o*u L,-. )in*, eJ^/'rd -'2/j- 244'- Z*'
   iZ-      L ; *9*.r*,     aru /-il"-'- izt c;' co"a^//
   ; ;,J         i-t*"         .;*k
                              - V a-.L -r**P                         L;
    l*{*"*^-'.-l L.u, Arr--< f,3'v., 4d 'ac'-<a/
     V*7 , 'kn?'. Vpz'<-z"rA'27tt6

a- zz/u.,/x*w^*y,.
   Z (b *.-"1 ru,,0.r- l,{il 'V//.,Jl'oy'
   ,-.-,19',16" orr;!L;                  /, )ai z tij""/        3 ' 3''
   f'n^ '    ,*,1        eL2c,4   'al44a4a1;'/ -a 4z,j             2.. -
   ,--/" .fuo    ,;            ,*;
                             /z-2.,*- -6 q'.--
                         Y/',*-
   h; //.; -'L-'?tLo'4 '^': //^/ /'u zJ" c'1
   (4L z''ttti-t*z'a''t '
                          J zaz--t-.2-rr*1 ,a ,ur-/
    2kt, 6.*..r-^ . d'/), y,,/r*'* r'dal-, ,=-
                                        ,1           -EJ c444 CZ-tl
    )7o h'o "/z
    ^-lcn/
                          1). 14 ,    J l-,/,fi,'-),-'2)J1,o
             Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 24 of 29 PageID #:24
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O,                 e. ry-                l2o/2./
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                                                             a44z   r-"*   .//



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         '6o/Zl           ga *Zt1 -?s/o
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             %Z*;*ry€/r-Z@t-r
             J//
             /kz- O-zA-t-*tt<1.
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                     --A
                                  /Z- 5*f-"";*,                 ? 4,ctu
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                               M
                           -X cfoz/h*-
                        ryru?
                         )azn;
                          /f-Z-.'
                           7)bz
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Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 25 of 29 PageID #:25




       "%r@;aa,4,4
        %/t'ZLZaYzfr-n'z'ffi
        1n    Zawfi-"24r,'@
                           .r.k;Zar-fu




          ,fl-;-/..==z 4-/4*. AZ.L
 rL- b .^Z A*r*/(",,                p.'-*z'a'; o'Z*-

          )   //*  W-*/2"/z,r-"-
     ^ru. *r-r"*.^.1
   -!r"^rn
                         /'"--"   ry *',n                  --   ft*/
  1"",*^
                                                                            *'3
    Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 26 of 29 PageID #:26




t
    | 7* /-r-Z d--J c'Jat ^r"-'/
    D-2 /-^'%-, u/"?
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               ;   d.Zf           7Z),;;,
Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 27 of 29 PageID #:27




ffi                                                        *r-
Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 28 of 29 PageID #:28
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    %                   kz,Dt(L-/nrtsn-
z;Z *#            .b?-      1)-Z 2:z,-€. %:'
 L-*h,-' e;ZJ -/,+ Z-" t@ 0)-e/?!-
  aZI-,* /e xqr, '/,--Z-,/" ,%- /,,*2^-           t-/
" ozrJ 6,% fu.-,
Case: 1:18-cv-06982 Document #: 1 Filed: 10/17/18 Page 29 of 29 PageID #:29
